Case 1:23-cv-05531-LAK-OTW                 Document 46-5           Filed 06/21/24            Page 1 of 1



                              APPENDIX 2 (a)


                                 CITY OF NEW YORK
                              OFFICE OF THE MAYOR
                              NEW YORK, N.Y. 10007


                                                           November 27, 1965

 EXECUTIVE ORDER NO. 178
 SUBJECT: FURNISHING OF COUNSEL TO INDIGENT CRIMINAL DE-
               FENDANTS WITHIN THE CITY OF NEW YORK
               1. Pursuant to the provisions of Article 18-B of the County Law
 (§§ 722-722e added by Chapter 878 of the Laws of 1965), I hereby designate the Legal
 Aid Society of the City of New York to furnish counsel to persons within the City of
 New York charged with a crime (as defined in County Law, §722-a) who are finan-
 cially unable to obtain counsel within the meaning of County Law §722. The terms
 and conditions for the rendition of such services, subject to the provisions of the fore-
 going statute, shall be as provided in an agreement to be entered into by the Society
 and the City; provided, however, that for the services to be rendered by the Society
 during the period from December 1, 1965, up to and including June 30, 1966, the City
 shall pay such Society the sum of Three Hundred Thousand ($300,000) dollars, in
 such installments and at such times as shall be provided for in such agreement. This
 sum is in addition to the Four Hundred Thousand ($400,000) dollars heretofore paid
 by the City to the Society for the period from July 1, 1965 to June 30, 1966.
               2. In those cases where by reason of a conflict of interest or other ap-
 propriate reason provided in the above-mentioned agreement, the Legal Aid Society
 declines to represent any such defendant, such defendant shall be represented by coun-
 sel furnished pursuant to the joint plan of the Association of the Bar of the City of
 New York and the New York County Lawyers' Association, as set forth in the com-
 munications by such bodies to the Mayor, dated November 11 and 12, 1965; provided
 that such joint plan is approved by the Judicial Conference of the State of New York;
 and provided, further, that any imposing or seeking to impose any expense or charge
 upon the City, other than as provided for by §§722-b and 722-c of the County Law,
 shall not be effective unless approved by the Mayor.
               3. The Director of the Budget is hereby authorized to promulgate rules
 and regulations for the implementation of this executive order in conformity with
 applicable law.
               4. The provisions of the foregoing plan for providing counsel through
 the Legal Aid Society may be terminated by the City acting by executive order of the
 Mayor, or by the Legal Aid Society, by giving sixty (60) days notice to the other party
 in such manner as shall be provided for in the above-mentioned agreement.
               5. This executive order shall take effect December 1, 1965.

                                                        /s/ Robert F. Wagner
                                                             Mayor




               Imaged with the Permission of N.Y.U. Review of Law and Social Change
